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                           RELEASE



                          New Zillow Policy Will Help Protect Home
                          Buyers and Sellers From Anti-Consumer
                          Private Listing Networks
                          By Wendy Gilch, Stephen Brobeck

                          Consumer Policy Center

                          April 14, 2025


                         DD
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                          DOJ Should Weigh in To Ensure Buyer Access to Listings and To Cheek Big Broker Manipulation
                          of Sellers

                          Washington, D.C. - On April 10, Zillow announced that beginning in May, it will no longer list
                          properties from the private listings of brokers who are publicly marketing them. This marketing
                          includes social media, emails, and yard signs. This initiative represents an effort to stop, or at least
                          slow down, the efforts of Compass and other big brokers to dominate the residential brokerage
                          industry and disadvantage consumers through private listing networks.

                          "Private listing networks limit buyer access to homes for sale and promote misleading,
                          disadvantageous choices for most sellers," said Wendy Gilch, a Consumer Policy Center (CPC)
                          fellow. "The networks would severely limit marketplace transparency and could well subject both
                          buyers and sellers to manipulation by unethical brokers," she added. (A small minority of sellers
                          want and would benefit from private listings but effectively have this opportunity today.)

                          Many brokerages have taken steps to create private networks that keep listings in house. Compass
                          in particular has made it clear that it wants to market new listings without restraint while retaining
                          access to Zillow and other major portals - Homes.com, Redfin, and Realtor.com if they cannot find
                          buyers.

                          Experts fear that the private listing brokers will seek to sell listings only to buyers working with the
                          company's own agents, then if they fail, make the listings available only to other big brokers with
                          whom they collude. That collusion would greatly disadvantage small and local brokers as well as
                          buyers.

                          "The efforts of some big brokers are likely to not only disadvantage buyers and sellers but also
                          reduce competition," said Stephen Brobeck, a Consumer Policy Center senior fellow."

                          The U.S. Department of Justice should take a close look at potential antitrust violations by those
                          brokers who use deceptive practices to try to dominate markets," he added.

                          There is evidence that some big brokers, notably Compass, are already encouraging their agents to
                          promote private listings. There is also evidence that some agents are taking advantage of
                          consumer unfamiliarity with the sales process to persuade sellers to sign up for private listings.
                          These listings limit access to buyers, which could well minimize sale prices and extend the time to
                          sell.
                          Earlier this year both Zillow and Compass released research findings about the relationship
                          between private listings and sale prices. Zillow's research, based on analysis of 10 million sales,
                          found that privately listed properties sold for lower prices than those listed on MLSs. Compass
                          reported that their research found just the reverse but studied only an indeterminant number of
                          their own sales and have yet to release a full report including research methods. It would appear to
                          defy common sense that, all other factors being equal, limiting buyer offers would maximize sale
                          prices.

                          If private listers can withhold new listings from the portals, buyers are unequivocally
                          disadvantaged by private listings. They would lose access to the full range of properties being sold.
                          They would also feel pressure to use agents from those big brokers with the most private listings.
                          Other brokers would also feel pressure to introduce or expand their own private listings, further
                          balkanizing the market.

                          Not limited by Zillow's new policy, big brokers who actively promote private listings can benefit in
                          several ways:

                              • Increase the chances of double-ending sales, allowing one broker to retain the typical
                                  commission of 5-6 percent of the sale price.
                              • Attract buyers who correctly perceive that they can access information about listings on
                                both a private listing network and the portals.
                              • Recruit agents who see greater opportunities to work with buyers and sellers.
                              • Exercise more influence over the market, industry associations, and state regulators.
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The whole private listing issue (called "pocket listings" then) first surfaced in 2018 - a year before                      Page 3 of 3
major class action lawsuits were filed - when Compass and others began challenging the Clear
Cooperation rule of the National Association of Realtors (NAR). This rule required brokers to list
properties within 24 hours after publicly marketing these properties. In 2019, NAR eased this rule
by allowing brokers to market "office exclusives" within their own company without listing them on
the local MLS and, effectively, on portals such as Zillow.

By 2024, Compass was campaigning for even fewer restrictions on private listings. In March 2025,
NAR agreed to allow "delayed marketing exempt listings" that would restrict the showing of private
listings by the portals. To gain access to these listings, consumers would have to register by
providing personal information. However, in April 2025 Compass wrote to many MLSs asking them
to curtail all portal access to private listings.

"We encourage all brokers to support Zillow's efforts to maintain the transparency of real estate
markets and prevent their balkanization," said the CPC's Brobeck.

"We encourage all sellers to think twice before permitting a listing agent to restrict the marketing
of their properties within private listing networks," said the CPC's Gilch. "Sellers will attract the
most buyer interest when their home is visible across as many major real estate websites as
possible—some, like Zillow, draw over a billion visits a year, far surpassing any other platform in
reach. And buyers should be skeptical of private listers who try to sign buyers to contracts by
claiming to have access to off-market properties," she added.




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